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                                                                                                            U.S. Department                   of ,lustiee




•                                                                                                      Lilli/etf Stales /1l/orney
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                                                                                                      NOl',hern Division
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                                                                                                                                                            '.J.

                                                                                                       May 6. 2014

Mr. Gill Cochran, Esquire
Cochran 8:: Chhabra, LLC
] 1G B Cathedral Street
Annapolis. MD 21401

                  R,"              United States   Y.   Kevin Francis Kellev. EI..H ]4-0203

Dear Mr. Cochran:

        This letter. together with the Scaled Supplement. conJirms the plea agrecment which has
been oifered to thc Defendant by the United States Attorney's Of/ice for the District of Maryl'lI1d
("this OfGce").     If the Defendant accepts this offer, please have him execute it in the spaces
provided below.       11'this olTer has not beenaeeepte.d by c.lose of business on May 23.2014. it
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will be deemed withdrawn.               '
                                                        '.,-."~'.,~_~""~I.J.:,~}r{{~~'\;~~~:l::/
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                   The terms of the agrecment arbls ToI16\i's:" ,'<:

                                                                   OITens" or Conviction

         I.     Thc Defcndant agrecs to plead guilty to the Inl'ormation now pending against him
 which charges him with Distribution of Child l'omography, inl'iolation of 18 LJ.S.c.!'is
 2252(a)(2) and (b)(I). The Defendant admits that hc is, in fact, guilty of that olTense and will so
 advisc thoeCouli.

                                                                   Elements of the Offcnse

       2.       The elemcnts ol'the ofl'cn,e to which the Defendant has agrced to plead guilty. and
which this Oflice would prove il'thc case we'nt to trial. arc as I'ollows:

                 a.      On or about the date listed in the Indictment. the Defendant knowingl\'
 distributed a visual depiction:


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               b.   The depiction was shipped or transported in and affecting interstate or
foreign commerce by any means, including computer;,                 ' ;'
                                       ",:,;,,"
                                             .~-:'
                                                \'r1':-'~\1~:~i\~ljf
                                                                ~');'}:'~-'
               c.    Producing t,lIe,~i~~E&~~!f;.iiP~Jn:vo:ry'~diusing      a minor engaged in sexually
                            ".i:i~_!<i~~tr:d,t) r~~'';it~r.m,y!::,t,pt~~ \.
explicit conduct;
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               d.       The depiction is of a minor engaged in sexually explicit conduct; and

              e.      The Defendant knew that at least one performer in the visual depiction was
a minor and knew that the depiction showed the minor engaged in sexually explicit conduct.

                                                           Penalties

        3.      The maximum sentence provided by statute for the offense to which your client is
pleading guilty is as follows: imprisonment for not less than five (5) years and not more than
twenty (20) years, followed by a term of supervised release of not less than five years and not
more tharl life and a fine of up to $250,000. In addition, the Defendant must pay $100 as a
special assessment pursuant to 18 U.S.C. !}30 13, which will be due and should be paid at or
before th(: time of sentencing. This Court may also order him to make restitution pursuant to 18
U.S.C. !}~,3663, 3663A, and 3664.1 Ifa fine or restitution is imposed, it shall be payable
immediately, unless, pursuant to 18 U.S.C. !}3572(d), the Court orders otherwise. The
Defendant understands that if he serves a term of imprisonment, is released on supervised
release, and then violates the' conditi()n~ 'If ~!~.
                                                   slup,rp'i~eqrl?f;liaSe,his supervised release could be
revoked - even on the last day of the 'lenfi': 'aiid,tffeDefehJaiii"could be returned to custody to
serve another period ofincarce~ati6ri'.Ji{i:i'lrggW'Miit'ilTsluW~~hedrelease. The Defendant
understands that the Bureau of Prisops has:soli: d'iscre'ilonTndesignating the institution at which
the Defendant will serve any term of imprisonment imposed.

        4.      The Defendant understands and agrees that as a consequence of his conviction for
the crimes to which he is pleading guilty, he will be required to register as a sex offender in the
place where he resides, where he is an employee, and where he is a student, pursuant to the Sex             "
                                                                                                                7!f,
Offender Registration and Notification Act (SORNA), and the laws of the state of his residence.                 "
Failure to do so may subject him to new charges pursuant to 18 U.S.C. !}2250.

                                                    Waiver of Rights

        5.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could

               Pursuant to 18 U.S.C. !}3612, if the Court imposes a fine in excess of $2,500 that
remains unpaid 15 days after it is imposed,' the;Defendant-shall be charged interest on that fine,
unless thl: Court modifies the interest payment in ~cc:6rdlij1.~eWith18 U.S.C. !}36 I2(1)(3).
                                 , . -'::":'..::'}~"-?;,~_\.~.~::)';}:~t
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be conducted by ajudge, without ajury, if the Defendant, this Office, and the Court all agreed.

                b.     If the Defendant electedajury trial, the jury would be composed of twelve
individuals selected from the community. Counsel arid the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
Alltwelv,e jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent,
and that presumption could be overcome only by proof beyond a reasonable doubt.

                c.     If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right
to confront and cross-examine the government'S witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call
witnesses in his defense, however, he would have the subpoena power of the Court to compel the
witnesses to attend.

                d.      The DefendantwQulg ):tave:.(he'right)o.lestify in his own defense if he so
chose, and he would have therighH9;t.M~~Wci!f~trrY.1!,~!ln¥~chosenot to testify, the Court
could instruct the jury that they'cb~'l'~'{~6J~Y,a~li..!&~~~irs~lhferencefrom his decision not to
testify.                             "      ;p." '.'c,"'.. ',", ,.,' .
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                                                 .                   .               "   l

                e.     If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which wouid require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the
verdict and the Court's decisions.

                f.     By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have
to answer the Court's questions both about the rights he is giving up and about the facts of his
case. Any statements the Defendant makes during such a hearing would not be admissible
against him during a trial except in a criminal proceeding for perjury or false statement.

                g.      If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.
                                     ,   "   "       '.'   "-<" ' .. {' -:';.   <.~' "/ ::~'..
                h.      By plead,ingg,ui!Wsj!~e,i!r~f~l,lffiHil~~'illj,also
                                                                       be giving up certain valuable
civil rights and may be subjeeltodeportlll'ioii'or:ollfet)ldssb'fimmigration   status. The Defendant
recognizes that if he is not a citizen of the' UnIted 'siMes, pleading guilty may have consequences
with respect to his immigration status. Under federal hlW, conviction for a broad range of
crimes Clm lead to adverse immigration consequences, including automatic removal from the
United States. Removal and other immigration consequences are the subject of a separate
proceeding, however, and the Defendant understands that no one, including his attorney or the

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Court, can predict with certainty the effect of a conviction on immigration status. Defendant
neverthel<lssaffirms that he wants to plead guilty regardless of any potential immigration
consequences.

               i.      The Defendant has' the right to have his case presented to a Grand Jury,
which would decide whether there is probable cause,to return an indictment against him. By
agreeing to proceed by way of Information, he is giving up that right, and understands that the
charges will be filed by the United States Attorney without the Grand Jury.

                             Advisory Sentencing Guidelines Apply

       6.       The Defendant ~nd1r.s.!a,IJ9~:1NigWr'Gou.'1~~ILdeterminea sentencing guidelines
range for this case (henceforth"il1e~'a9viSm~itl~~.I~~~taiige") pursuant to the Sentencing
Reform Act of 1984 at 18 U.S:t:'~~3j5!.h}142'(~k~f"ptin'g"F8(J.S.C. ~~ 3553(b)(I) and 3742(e))
and 28 US.C. ~!l991 through 998. TheDefendant further understands that the Court will
impose a sentence pursuant to the Simtencing ReforrnAct, as excised, and must take into account
                                                      a
the advisory guidelines range in establishing 'reasonable sentence.

                           Factual and Advisory Guidelines Stipulation

       7.     This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts set forth in Attachment A hereto which this Office would prove beyond a
reasonable doubt and to the following applicable sentencing guidelines factors:

               a.      The base offense level is twenty-two (22) pursuant to USSG ~2G2.2(a)(2).

               b.      Pursuant to USSG !l2G2.2(b)(2), there is a two (2) level increase because
the depictions involved prepubescent minors or minors under the age of twelve (12).

               c.     Pursuant to USSG ~2G2.2(b)(3)(F), there is a two (2) level increase
because the offense involved distribution, other than distribution described in (A) through (E).
                                  "   ..   f'                            .~:";'J,:
                                                .,.\:'~!';-\~'~~~'-:.<:_~;:!'.:-,:
               d.      Pursuant to USSG~2G2!2{j)X4~;ther'e"jsa four (4) level increase because
the material portrays sadistic or riiasclc'hi~ii~'!e~ri~u~i.1>r
                                                            oth~fdepictions of violence.
                                                 .        '.">



                e.      Pursuant to USSG ~2d2.2(b)(6), there' is a two (2) level increase because
the distribution involved the use of a computer.        '

              f.     Pursuant to USSG!l2G2.2(b)(7)(D), there is a five (5) level increase
because the number of images exceeds 600.

        This Office does not oppose a two-level reduction in the Defendant's adjusted offense
level, based upon your client's apparent prompt recognition and affirmative acceptance of
personal responsibility for his criminal conduct. This Office agrees to make a motion pursuant
to U.S.S.G. ~ 3El.l(b) for an additional I-level decrease in recognition of your client's

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acceptance of personal responsibility for his cond~ct. 'This Office may oppose any adjustment
for acceptance of responsibility if your client (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his'
involvement in the offense; (d) is untruthful with the Court, this Office or the United States
Probation Officer; (e) obstructs or attempts to obstI;UCtjustlce prior to sentencing; (f) engages in
any criminal conduct between~h~. ~,a~~~~tlflfs;'~!ff#~~~i~t~~!j~.edate of sentencing; or (g)
attempts to WIthdraw hiS plea '0'fglllhy:';.01AI{l,\(Jdh!1!;, . ''i\~:~,.,
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        Thus, the final anticipated
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                                                                       34.'
        8.      The Defendant understands 'thatthere 'is no agteement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level if he is a
career offender or if the instant offense was a:part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

         9.     This Office and the Defendant agree that, with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in Chapters 2,3,4 or 5 of the United States
Sentencing Guidelines (other than those stated in,  'if 7, supra)., :will be raised or are in dispute .
                                                  . .             ';




                                                18 U:S.C. & 3553(a)

         10.     This Office and the Defendant agree that both parties reserve the right to argue
that this Court should sentence the Defendant to a variant sentence outside of the advisory
guidelines range determined by the Court. This Office and the Defendant stipulate and agree
that if either party intends to argue, purs).lal),i.l? ;1.8U.~.~..~~lion 3553(a), that the sentence in
this case should fall outside of,t~eadvi¥o.f;y:i\1W#jiit~!r<li)g-~;.based on any factor, that party will
notify opposing counsel at least r4.:d~xsTn,:a.d~aij.c~~rseni~ncing of the facts or issues the party
intends to raise.    If the party seeking the rion:'guidefine sentence fails to provide timely notice of
the intent to argue for a sentence outside the advisory guidelfnes range, that party will withdraw
the 3553(a) arguments or consent to a continuance of the sentencing date.

                          Obligations       of the United States Attorney's   Office

        11.      At the time of sentencing, the United States Attorney's Office will recommend a
reasonable sentence, giving due consideration to the advisory USSG range, plus a period of at
least five (5) years and up to a lifetime period of supervised release.

        12.    The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct.

                                                 Waiver of Appeal

         13.    In exchange for the concessions made by this Office and the Defendant in this
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                                    _'~,i/:'~'i;~~               .
plea agreement, this Office anilfhf'~.~l~~U~l~~Y,~~~~;;'Jgh~S to appeal as follows:

               a.      The Defendant knOWh1giywaives all right, pursuant to 28 U.S.c. 91291
or otherwise, to appeal the Defendant'sconviction; " " "

                b.       The Defendant and this Office knowingly waive all right, pursuant to 18
U.S.C. 9 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relate to the establishment of the advisory guidelines range, the
determination of the defendant's criminal history, the weighing of the sentencing factors, and the
decision whether to impose and the calculation of any term of imprisonment, fine, order of
forfeiture, order ofrestitution, and term or condiiion of'supervised release), except as follows: (i)
the Defendant reserves the right to appeal any term of imprisonment to the extent that it exceeds
the USSG range provided for at a base offense""level34, taking into consideration the
Defendant's Criminal History Category; (ii) and this Office reserves the right to appeal any term
of imprisonment to the extent that it is below the USSG range provided for at a base offense
level 34, taking into consideration the Defendant's Criminal History Category.

                c.     Nothing in this agreement shall be construed to prevent the Defendant or
this Officl~from invoking the provisions "of.FederaLRuleof"Criminal Procedure 35(a), or from
a~pealin~ from an~ decision thereNn"d.~ff~H~I~:~~*~MW~inposed that resulted from
anthmetJ(:al, techmcal, or otheteIedh:ifljt~>' l><,~~,,!~~
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                d.      The Defendant waives ~~y ahd all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned maner and
agrees not to file any request for documents from this Office or any investigating agency.

                               Obstruction or Other Violations of Law

         14.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the
event that the Defendant (i) engages in conduct after the date of this agreement which would
justify a finding of obstruction of justice under USSG 93C I.I, or (ii) fails to accept personal
 responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
 prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
 local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
 agreement. Specifically, this Office will be free to argue sentencing guidelines factors other
 than those stipulated in this agreement, and it will also be free to make sentencing
 recommendations other than those set out in this agreement. As with any alleged breach of this
 agreement, this Office will bear the burden of convincing the:Court of the Defendant's
 obstructive or unlawful behavior andiorJailQ.re,W:ackhowledge personal responsibility by a
 preponderance of the evidence.,.,~Tb~D~leh$$~4l;kli()wi~age's
                                    ,,~.. "  .. ~ .    , .. ',,'I..... .   _
                                                                             that he may not withdraw his
 guilty plea because this Office is;relieVed.oh'tir.obli.gations!iJnderthe agreement pursuant to this
 paragraph.                                  "      ,," ."               "




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                                                  Court Not a Party

         15.      The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to' be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevantio sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court wiJ] consider the stipulation, together with the results of the presentence investigation, and
any other relevant information. The Defendant understands that the Court is under no
obligation to accept this Office's recommendations, and the Court has the power to impose a
sentence up to and incl uding the statUi6rfinaJdirtiiht
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                                                                                        The Defenilant understands
that if the Court ascertains factors ~iff~reIiVfi\om.f./(ds~contahledin the stipulation set forth
above, or if the Court should irripose'any'i~i~\'enct!'lip!iOthe maximum established by statute, the
Defendant cannot, for that reason alone, witbdr~~'his guilty plea, and will remain bound to
fulfill all of his obligations under this agreement The Defendant understands that neither the
prosecutor, his counsel, nor the Court can make a binding prediction, promise, or representation
as to what guidelines range or sentence the Defendant will receive. The Defendant agrees that
no one has made such a binding prediction or promise.

                                                      Forfeiture

         16.   The defendant agrees to' forfeit all right, title and interest in the property seized by
law enforcement authorities from his residence on December 4, 2013, including, but not limited
to: a Samsung notebook laptop, sin: AZVP93NB I03990B; a Seagate Free Agent external hard
drive, sin: 2GET3GK2; an Apple iMac computer, sin: W87021 S5WRX; a Mac mini external hard
drive, sin: YM02703BCS6; Western Digital hard drive, s/n:WXEI07823924; a Simple Tech
Simple Share external hard drive, sin: 0513013660; a Seagate Free Agent external hard drive, sin:
3QK05WAR; CDsfDVDs/other removable media, 617 pieces; an Apple iPad, sin:
DMPJ5HDNDJ8T; an Apple iPhone; a Sony multi card reader with (I) one 4GB SD card
enclosed; and a Sony a65 digital camera, sin: 0178562 with enclosed 16GB SD card. He further
agrees to take whatever steps are necessar:y)o.Jla~scle.ar ti,t)etp those properties to the United

States.                                 ;:f;,~p:X~t*:,:.~'~;;,~;~~:;':ftt.
                                    ..•;.
                                                      Restitution

         17.    For purposes of sentencing, the offense .of conviction constitutes a crime of
violence pursuant to 18 U.S.C. ~ 16. Therefore, under 18 U.S.C. ~9 3663A, 2259, and 3771,
any identified victim is entitled to mandatory restitution. The restitution could include the
medical bills, compensation for time missed from work, as well as counseling costs (including
travel) for any of the victims related to the incident, if any such costs exist or are reasonably
projected. 18 U.S.C. 992259, 3663A(b)(2) and (4). The Defendant further agrees that he will
fully disclose to the probation officer and to.the Court, subject to the penalty of perjury, all
information, including but notlimited to copies of all relevant bank and financial records,

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regarding the current location and prior disposition of all funds obtained as a result of the
criminal conduct set forth in the factual stipulation.      The Defendant further agrees to take all
reasonable steps to retrieve or repatriate an}' such funds and to make them available for
restitution.  Jf the Defendant does not fullill this provision, it will be considered a material
breach of this plea agreement, and this Office may seek to be relieved of its obligations under
this agreement.     Defendm1t understands that an unanticipmed amount ofa restitution order will
not serve as grounds to withdraw Ddcndant's'i.\u,ill-y.plea:,: ,,!fthe Defendant is incarcerated. the
Defendant agrees to participate.in' tl)e.i?~;I;~i;~j~fil~\~.MS)!J(~~!eFinancial Responsibility
Program,                            ..   -:c .""\.<~~\;t:;~::~:;<~~~:t;"
                                                                 <   "1'   .




                                                Erltire Aureement

         1 E.    This letter supersedes any prior understandings, promises, or conditions between
this Offic,e and the Defendant and, together w,ith the Scaled Sllpplement, constitutes the complete
plea agreement in this case. The Defendariracknowledges         that there are no other agreements,
promises, undertakings or understandings between the Dcfendant and this Office other than those
set forth in this leTler and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.

        If the Defendant fully accepts each and every term and condition of this agreement,
please sign and have the Defendant sign the original and return it to me promptly.

                                                  Vcry truly' yours.




        I have read this agreement, including the Sealed Supplement, and carefully reviewed
cvery part of it with my attorney.   J understand it, and I voluntarily ag.ree to it. Speeil'ically,l
have reviewed the Factual and Advisory Guidelines Stipulation with my attorney. and I do not
wish to change any part of it. I am completely satisfied with the representation of my attorney.



  S-I-> - 1'1                                                                                  -----
Date
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       I am Kevin Francis Kelley's;artorneY~,,,,IIlhaV:e,carefu.!ly
                                                                 reviewed every part of this
agreement, including the Sealed Supplement; witlrhim: He"advises me that he understands and
accepts it:;terms. To my knowledge, his decisidn to enter into thi          ent is an informed
and voluntary one.




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                                          EXHIBIT A
                                                                                                  GO                          c:
                                      STIPULATED FACTS                                            .<                 ~        ~~
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         Tile undersigned parties hereby stipulale and agree that iflhis case had p,f,;Cieder!=!o                             .,-,e
trial, the government would have proven Ihefol/owingfacls beyond a reasonable flby!?t. The ~~~
undersigned parties also stipulate.
                                    and agree
                                        .".'
                                               that thefollowingfacls do not encompass
evidence that would have been presented had this matter proceeded to trial.
                                                                                     "-
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       Kevin Francis Kelley, age 45, is a residentonialethorpe,                         Maryland. ,_       ~,!,~
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                                                                                                  -.                 CJ1!::~
                                                                                                      .'             cr,.i-
       On October 3, 2013, the Defendant was sharing child pornography on the BitTorrent P2P-

network. BitTorrent is a program which is downloaded from the Internet and it is used to

exchange or share files between computei' 'its~rs.l9iilizing'l~'address                     108.40.61.244, the

Defendant shared a video file#6iti)i~~~bg'f~~~'iR£t~i[tI~6l~l!~t his Halethorpe, MD, residence

However, the IP address in question actually resolved to a neighbor's residence which the

Defendant was accessing without the neighbor's kriowledge: The file that the Defendant made

available to the undercover Detective was entitled, "(Hussyfan)(pthc)(r@ygold)(babyshivid)                                 Al

4Yprivat,el (3yo Marjorie in bath - infant child sex.mpg" is approximately 3 minutes and 25

second long. This video depicts a nude prepubescent child in a bath tub. An adult male can be

.heard on the video giving the child instructions. The adult male tells the child to "stand up and

show me how you clean again." The child stands up and rubs her vagina and buttocks with her

 hands. The child then squats and holds her vagina open with both her hands; the camera focuses

 in on the vagina and the adult male fondles her vagina with his finger. The child then places
                                       f.   '.'   : •.'   '~,:'.   '.   .   \   . _~.




 both her hands on the adult m~I~';~~~WJ't~~1{:~~iff~,Hr;r#.:~~theadult male's penis in her
                                              '~ ...•..f,~ ~.,' /
 mouth.

          On December 3, 2013 at approximately 0845hrs, Detective Rees obtained a search and

 seizure warrant for the first residence located on Tulip Avenue, Halethorpe, Maryland. After

 interviewing and forensically previewing the computers at the first residence, it was clear that the




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     Case 1:14-cr-00203-ELH Document 9 Filed 06/18/14 Page 11 of 13




file in question had not been downloaded from a computer at this residence. The homeowner
                                        .~'v-o\~
indicated that he had assisted a neighbor by running an Ethernet cable from the router inside of

the first residence on Tulip Avenue to a residence on Cedar Avenue so that the individual at that

residence could have access to the Internet.

       Based on the information <.ibtarnM'fr~lHiJg'fif~tibXidbnceon Tulip Avenue, the
                                '.'         ":,:'" -:I.,   "/t '.,.\.::... "',;

Baltimore County Detective p(~pa're!l"as~lli1kfu{~:~~'l~ui~\~;m.antfor the second residence on

Cedar Avenue, Halethorpe, Maryland. interviews and forensic preview of the computer at this

residence again was inconsistent with file sharing on BitTorrent and the downloading of the file

in question on October 3,2013. The resident of the second residence on Cedar Avenue informed

the Detel:tives ofa neighbor at a separate residence on Tulip Avenue who was very

knowledgeable with computers and helped set up the wireless router at the first residence on

Tulip Avenue. The residents of the first Tulip Avenue residence confirmed that the individual

residing at the other Tulip Avenue residence had assisted them in setting up their network and

that they had trusted him with the password to their wireless router. In fact, one of the residents

of the first Tulip Avenue residence identified 'the,Defendant by name and indicated that the
                                 . ..: ,.I/.;t<.'_\Zr .',:~:;.< . :"--;',,;
Defendant had taken pictures 6flhepasswda wil\niiis ceii phone.

       On December 4,2013, the Baltimore County Detective accessed the BitTorrent software

and found that the Defendant was still sharing child pornography utilizing the IP address in

question, 108.40.61.244.

       As a result, a third warrant was applied for and executed, this time on the Defendant's

residence, which was the second Tulip Avenue ~esidence, on December 4,2013. After

knowingly, intelligently, and voluntarily waiving his rights pursuant to Miranda, the Defendant

agreed to be interviewed and stated, in sum and substance, that he had used his neighbor's



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                                                      ':;;/6
      Case 1:14-cr-00203-ELH Document 9 Filed 06/18/14 Page 12 of 13




wireless internet signal to engage in the>tradih>g:()fphildpornography, and that he he knew the
                                . " "'_.:;...:. :~.!::-');}'.:,i'l--~;,--;;;.
                                                                           ;"It,;:    ",,":rl-I

password to their wireless router;tJ~~Js~:Jr(i{~'{I'R~1~;~[jiH<bHj'set
                                                                  up the password for their
                                        ""     .   ....   "   '-.   ::   ..   -- '.          .


wireless router. The Defendant admitted to using his neighbor's wireless connection to avoid

detection by law enforcement. Regarding>his collection of child pornography, the Defendant

admitted to possessing "thousands" of child pornography images and videos that were saved on

his computer and hard drives and that he had installed a Torrent program on his Samsung laptop

that he would leave running to download child pornography> The Defendant explained that the

Torrent software is a file sharing software that allowed its users to share files with others using

the same file sharing software. The Defendantstated he categorizes his child pornography in                                    "

various ways to include by sex act, age of child and name of child, and that he had masturbated




subject of this affidavit and search warrant:

        - Apple iMac computer, sIn: W87021S5WRX

        - Samsung notebook laptop, sIn: AZVP93NBI03990B

        _ Mac mini ~7'YM02703BCS6-                                                                T'...\\   c••..••\;:;'\'R.

        - Western Digital hard drive, sIn: WXE 107823924

        - Seagate Free Agent external hard drive, sIn: 2GET3GK2

        - Simple Tech Simple Share external hard drive, sIn: 0513013660

        - Seagate Free Agent external hard drive,>sIn: 3QKOSWAR

        - Removable media, 617 pieces

        - Apple iPad, sIn: DMP J5fiDNi5)~~2;i:,:;P,
                                  ..               ~1;~:~'(h"~\.~1i<jij~
        - Apple iPhone




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     Case 1:14-cr-00203-ELH Document 9 Filed 06/18/14 Page 13 of 13
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       _ Sony multi card reader with (1) one 4GB 8D card enclosed

       _ Sony a65 digital camera, sIn: 0178562 with enclosed 16GB SD card

       Preliminary forensic analysis of just the Samsung notebook laptop, sIn:

AZVP93NB 103990B, and the Seagate Free Agent external hard drive, sIn: 2GET3GK2, has

indicated a massive amount of child pornography. Those two items alone contained over 63,000

image files and 950 video files of child pornography. The image and video files included'

sadistic or masochistic conduct, or other depictions of violence, and depicted prepubescent

minors (Iunderthe age of 12) engaged in sexually explicit conduct. The Defendant sought out
                                          ;"~.;,~
                                               "!;':.,> .~"'L"":~ .-;~<.:
these visual depictions on the internet ,and"kl'l(;wiriglyilistribu'ted them via the internet. The
                                                -'.:.~I\hrt?ijirp\~,1-,':<~Fr .
                              . -~-.~:~::~::.:.11f.~
Defendant knew the images depicted minoTsengaged in sexually explicit conduct; in addition,

the images had traveled in interstate or foreign commerce.

       1have read this statement of facts, and carefully reviewed it with my attorney. 1

acknowledge that it is true and correct.




                                                                      Kevin F




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